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  Message
  From:            Mike Petrillo           google.com]
  Sent:            6/3/2016 3:59:57 PM
  To:              Jamie Rosenberg          @google.com]; Sameer Samat         @google.com]; Paul Gennai       @google.com];
                   Larissa Fontaine       @google.com]; Vineet Buch      @google.com]; Shannon Newberry
                             @google.com]; Mary Oh          @google.com]; Jon Gold       @google.com]; Purnima Kochikar
                            @google.com]; Claire Hart          @google.com]; Kevin Wang         @google.com]; Shafiq Ahmed
                                 @google.com]
  Subject:         Re: Time-Sensitive: Subscriptions


  + shafiq

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  Update for this thread --

  The core group met a couple times this week. Analysis and recommendation summarized here. We've just had
  an opportunity to talk through it with Sameer and Jamie.

  Quick recap:
  •      Think there's a low likelihood that Apple will announce anything major centered around a business
  model change at WWDC
  •     For many of the potential stories they could tell, we have a solid response. If there's a big product
  announcement (where lower commission rate is a component), a Play story about LRAP will have less impact
  •     Certainly to our benefit to continue evolving our subscription billing platform and policy over the
  months ahead
  •     But, risky to rush through changes prior to WWDC if our confidence in a public Apple billing
  announcement is as low as it is
  •          We'll keep our billing policy as is for now. No need for deal review at this time
  Next steps:
  •          Collect additional intel, including from one beat reporter at Re/code (indirectly)
  •          Prepare reactive comms:
  o                 Press
  o                 Developer (revisit old LRAP materials)
  Thanks to everyone for their contributions. We will prep reactive comms next week and share any new intel as
  it comes in.

  Mike


  On Sat, May 28, 2016 at 8:50 AM, Jamie Rosenberg                     ggoogle.com> wrote:
  ATTORNEY CLIENT PRIVILEGED

  All (with Claire for legal advice),

  We're starting to hear an escalation of the rumors that Apple will be changing its rev share on subscriptions to
  85/15, potentially as early as WWDC (which is the week of 6/13).

                                                                                                       EXHIBIT 8567

CONFIDENTIAL                                                                                          GOOG-PLAY-001164601
                                                                                                            EXHIBIT 8567-001
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  It's a scramble but I think we need to assume the rumor is true and plan accordingly. If we can move quickly,
  we have a good opportunity to "lick the cookie" and preempt Apple's announcement,. At the same time, we
  don't want to overshoot or box ourselves in. We don't know whether Apple will do this for all subscriptions or
  just a narrowly defined set (i.e., media & content subscriptions). And we don't know what other conditions
  might be attached.

  I'd like to suggest that Vineet, Larissa, Mike Petrillo and Shannon form the core working group for this and
  quickly come to a recommendation for something we could implement during the week of 6/6. Along the way
  you may want to pull in Legal, Finance and Ops. For LRAP our working group became too large... let's try to
  keep this as tight as possible given the sensitivity. BTW, by "implement" I am realistic that what we're likely
  talking about is a pre-announcement, not a fully operational program -- and that might actually be the better
  strategy (see below).

  My early thoughts (which are not prescriptive):

  * One strategy would be to make a public statement on how we're working on changing our revenue share to
  85/15 for [content] subscriptions "in the near future" (or maybe by a certain date) and say that more details are
  coming soon. This would give us credit for the idea, but would put the ball in Apple's court to define it -- so we
  don't overshoot or undershoot. And given how buttoned up they typically are, they probably have the definition
  established already.

  * This statement could happen in the context of a press interview Shannon orchestrates to talk about our
  progress with Play generally, or our progress with content apps. So it's not a blog post that stands alone but a
  deliberate statement by one of our leaders, dropped in context, on where we're heading. It could be coupled
  with info on all the investments we've made in our subscriptions platform.

  * We could consider telling the full story of LRAP as the pilot program for this and that we're now planning to
  open it up to everyone in the category. On the one hand, gives us credit for being thoughtful. On the other,
  might alienate partners who haven't been offered LRAP. But if the story of LRAP is going to get out anyway,
  maybe we shouldn't worry about this.

  * Of course we have to be very buttoned up on reactive comms for non-subscription developers (i.e., game
  devs) who are at 70/30 and will continue to be.

  * I know Mary has been doing some modeling on the impact of the change on revenue. Depending on what we
  decide to do, we'll likely need to brief IR.

  BTW, you guys could also recommend, "Do Nothing" or "Wait to see what Apple does." Those paths are up
  for discussion as well. And in any path we choose, we also have to war game the scenario in which our
  intelligence was wrong and Apple does nothing or stays silent for longer than we anticipated.


  Thanks,

  Jamie




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                                                                                                   EXHIBIT 8567-002
